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                              UNITED STATES OF AMERICA
                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION




UNITED STATES OF AMERICA,           )
                                    )
                  Plaintiff,        )                 Case No. 1:06-cr-128
                                    )
v.                                  )                 Honorable Robert Holmes Bell
                                    )
REGINALD WILLIAMS,                  )
                                    )
                  Defendant.        )
____________________________________)


                            REPORT AND RECOMMENDATION

               Pursuant to W.D. MICH . L.CR.R. 11.1, I conducted a plea hearing in the captioned

case on September 14, 2006, after receiving the written consent of defendant and all counsel. At the

hearing, defendant Reginald Williams entered a plea of guilty to count 1 of the Superseding Felony

Information charging him with conspiracy to distribute and possess five grams or more of cocaine

base, 500 grams or more of cocaine, and a quantity of heroin, in violation of 21 U.S.C. §§ 846,

841(a)(1), in exchange for the undertakings made by the government in the written plea agreement.

On the basis of the record made at the hearing, I find that defendant is fully capable and competent

to enter an informed plea; that the plea is made knowingly and with full understanding of each of the

rights waived by defendant; that it is made voluntarily and free from any force, threats, or promises,

apart from the promises in the plea agreement; that the defendant understands the nature of the

charge and penalties provided by law; and that the plea has a sufficient basis in fact.
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                  I therefore recommend that defendant’s plea of guilty to count 1 of the Superseding

Felony Information be accepted, that the court adjudicate defendant guilty of the charge, and that the

written plea agreement be considered for acceptance at the time of sentencing. Acceptance of the

plea, adjudication of guilt, acceptance of the plea agreement, and imposition of sentence are

specifically reserved for the district judge.

                  The Clerk is directed to procure a transcript of the plea hearing for review by the

District Judge.



Dated: September 14, 2006                       /s/ Joseph G. Scoville
                                                U.S. Magistrate Judge



                                       NOTICE TO PARTIES

                You have the right to de novo review of the foregoing findings by the district judge.
Any application for review must be in writing, must specify the portions of the findings or proceed-
ings objected to, and must be filed and served no later than ten days after the plea hearing. See W.D.
MICH . L.CR .R. 11.1(d). A failure to file timely objections may result in the waiver of any further
right to seek appellate review of the plea-taking procedure. See Thomas v. Arn, 474 U.S. 140 (1985);
Neuman v. Rivers, 125 F.3d 315, 322-23 (6th Cir.), cert. denied, 522 U.S. 1030 (1997); United States
v. Walters, 638 F.2d 947 (6th Cir. 1981).
